Case 1:15-cv-01381-LKG..Document 17 Filed 10/13/17 Page 1 of 14

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In the Anited States Court of Federal Clauns

 

No. 15-1381T .
Filed October 13, 2017 FILED
NOT FOR PUBLICATION -
OCT 13 2017
JERRY JOHN CZARNECKI, JR ' Se
sent FEDERAL CLAIMS
Plaintiff, )
) Pro se; Summary Judgment, RCFC 56;
Vv. ) Ordinary and Necessary Business
) Expense, Internal Revenue Code § 162;
THE UNITED STATES, ) Treasury Regulations § 1.162-5.
)
Defendant. )
)

 

Jerry John Czarnecki, Woodbridge, VA, plaintiff pro se.

Jason S. Selmont, Attorney of Record, Blaine G. Saito, Trial Attorney, Mary M. Abate,
Assistant Chief, David I, Pincus, Chief, David A. Hubbert, Acting Assistant Attorney General,
Court of Federal Claims Section, Tax Division, United States Department of Justice,
Washington, DC, for defendant.

MEMORANDUM OPINION AND ORDER

GRIGGSBY, Judge
I. INTRODUCTION

In this tax refund matter, plaintiff pro se, Jerry John Czarnecki, seeks to deduct certain
educational expenses incurred in connection with researching and writing his doctoral thesis as
an ordinary and necessary business expense, pursuant to Section 162 of the Internal Revenue
Code and Treasury Regulations § 1.162-5. See generally Compl. The parties have filed cross-
motions for summary judgment on the issue of whether plaintiff is entitled to deduct these
expenses, pursuant to Rule 56 of the Rules of the United States Court of Federal Claims
(“RCFC”). See generally Def. Mot.; Pl. Mot. For the reasons discussed below, the Court
GRANTS the government’s motion for summary judgment and DENIES plaintiff's cross-

motion for summary judgment.

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Case 1:15-cv-01381-LKG Document 17 Filed 10/13/17 Page 2 of 14

IL, FACTUAL AND PROCEDURAL BACKGROUND!
A. Factual Background

Plaintiff is a professional engineer. Compl. at 17; Def. Mot. at 1. In 2010, plaintiff
engaged in research and writing in connection with his doctoral thesis for a Ph.D. program in
structural engineering at the Massachusetts Institute of Technology (“MIT”). Def. Mot. at 1. In
this tax refund action, plaintiff seeks to deduct these educational expense as an ordinary and
necessary business expenses, pursuant to Section 162 of the Internal Revenue Code (“LR.C.”)

and Treasury Regulations § 1.162-5. See generally Compl.
1. Plaintiff’s Educational Background And Work History

The material facts in this tax refund case are undisputed. Plaintiff has studied and
worked in the field of engineering for many years, Def. Mot. at 1. In 1994, plaintiff earned a
Bachelor’s of Science degree in engineering from Worcester Polytechnic Institute. Def. Mot. at
2: Def. Mot. at Ex. 1 at 16-17. Thereafter, plaintiff earned a Master's degree in applied
mathematics from the University of Rochester in 1995. Def. Mot. at 2; Def. Ex. 1 at 17.

After obtaining his Master’s degree in applied mathematics, plaintiff began his
engineering career working at ITT Industries as a plant engineer in 1995. Def. Mot. at 3; Def.
Ex. | at 8, 11. In 1996, plaintiff joined Gleason Corporation as a research engineer where he
worked on the design and programming of machines to achieve certain gear tooth geometries.
Def. Mot. at 3; Def. Ex. 1 at 8-9, 11-12. Plaintiff remained employed at Gleason Corporation
until 1998. Def. Ex. 1 at 11-12.

In September 1998, plaintiff enrolled in a Ph.D. program in structural engineering within
the civil environmental engineering department at MIT. Def. Mot. at 3; Def. Ex. I at 9, 17, 18,

38; Def. Ex. 2. After taking courses, sitting for his doctoral examinations, and presenting his

 

! The facts recited in this Memorandum Opinion and Order are taken from plaintiff's complaint
(“Compl.”); the government’s motion for summary judgment (“Def. Mot.”); the exhibits to the
government’s motion for summary judgment (“Def. Ex at___”); plaintiffs response and opposition to the
government’s motion for summary judgment and cross-motion for summary judgment (“PI. Mot.”), the
government’s response to plaintiff's cross-motion for summary judgment and reply (“Def. Resp.”); and
plaintiff's reply (“P1. Reply”). Except where noted, the facts recited herein are undisputed.
Case 1:15-cv-01381-LKG Document 17 Filed 10/13/17 Page 3 of 14

dissertation research project, plaintiff moved to Los Alamos, New Mexico where he conducted

doctoral research at the Los Alamos National Laboratory. Def. Mot. at 3; Def. Ex. 1 at 9, 12.

During the period 2001 to 2006, plaintiff worked as a research engineer at the Laboratory
for Microsensor and Actuator Technology located in Berlin, Germany. Def. Mot. at 3; Def. Ex.
1 at 9, 13. In 2007, plaintiff returned to the United States and began work as a general engineer
for the United States Navy (the “Navy”). Def. Mot. at 3; Def. Ex. 1 at 10, 13-14. In this
capacity, plaintiff performed structural engineering work for submarine design for Naval Sea

Systems Command. Def. Mot, at 3; Def. Ex. 1 at 14.

In 2008, plaintiff became a licensed professional engineer in the State of New York. Def.
Mot. at 4-5; Def. Ex. | at 18. Thereafter, in 2009, plaintiff began work as an engineer at the
Navy Surface Warfare Center located in Crane, Indiana. Def. Mot. at 3-4; Def. Ex. 1 at 10-11,
14. In this position, plaintiff focused on how batteries in submarines withstood shocks and

vibrational disturbances when the batteries are mounted in a vehicle. Def. Ex. 1 at 14, 45-46.

In 2010, the Navy certified plaintiff as a Systems Engineer Level 3, which involves
oversight of the design and manufacture of complex equipment and military hardware. Def. Ex.
| at 19-20. During this period of time, plaintiff also conducted research and writing in
connection with his doctoral thesis at MIT, Compl. at 1; Def. Mot. at 1. At the time, plaintiff

was not licensed as a structural engineer. Def. Ex. 1 at 18-19, 34-35.

In 2011, plaintiff left his employment with the Navy and began working for the Institute
for Defense Analyses as a research engineer, Def. Ex. 1 at 11, 15. Thereafter, in October 2014,
plaintiff began working in his current position as an engineer at Bechtel Corporation, Def. Mot.
at 4: Def, Ex. 1 at 11, 15. In 2014, plaintiff ceased work on his doctoral thesis without having
obtained a degree. Def. Mot. at 4.

2. Plaintiff’s 2010 Tax Return

Plaintiff timely filed his United States Individual Income Tax Return, Form 1040, for the
2010 tax year. Def. Mot. at 6. On April 9, 2014, plaintiff signed an Amended United States
Individual Income Tax Return, Form 1040-X, for tax year 2010, claiming an entitlement to a tax

refund of $8,712.00 as educational expenses related to required professional development. Id. at
Case 1:15-cv-01381-LKG Document 17 Filed 10/13/17 Page 4 of 14

6-7, On August 29, 2014, the Internal Revenue Service (“IRS”) disallowed plaintiff's tax refund
claim. fd. at 7.

B. Procedural Background

Plaintiff commenced this tax refund action on November 16, 2015. See generally Compl.

On March 10, 2016, the government answered the complaint. See generally Answer.

On April 26, 2017, the government filed a motion for summary judgment, pursuant to
RCFC 56, See generally Def. Mot. On May 19, 2017, plaintiff filed a response and opposition
to the government’s motion for summary judgment and a cross-motion for summary judgment,

pursuant to RCFC 56. See generally Pl. Mot.

On June 28, 2017, the government filed a response and opposition to plaintiff's cross-
motion for summary judgment and a reply in support of its motion for summary judgment. See
generally Def. Reply. On July 17, 2017, plaintiff filed a reply in support of his cross-motion for
summary judgment, See generally Pl. Reply.

These matters having been fully briefed, the Court resolves the pending motions,
UL STANDARDS OF REVIEW
A, Jurisdiction And Tax Refund Claims

Under the Tucker Act, the United States Court of Federal Claims has jurisdiction “to
render judgment upon any claim against the United States founded either upon the Constitution,
or any Act of Congress or any regulation of an executive department, or upon any express or
implied contract with the United States, or for liquidated or unliquidated damages in cases not
sounding in tort.” 28 U.S.C. § 1491(a)(1) (2012); see also Fisher v. United States, 402 F.3d
1167, 1172 (Fed. Cir, 2005). The Tucker Act does not, however, create a substantive cause of
action. Rather, a plaintiff must identify a separate source of substantive law that creates the right
to money damages to come within the jurisdictional reach and the waiver of that act. Fisher, 402
F.3d at 1172 (citing United States vy. Mitchell, 463 U.S. 206, 216 (1983); United States v. Testan,
424 US. 392, 398 (1976)).

LR.C. § 7433(a), provides the money-mandating source of law for bringing a tax refund
claim in this Court. Dumont v. United States, 85 Fed. Cl. 425, 427-28 (2009). And so, a

taxpayer may bring an action in this Court to recover any internal revenue tax erroneously or
Case 1:15-cv-01381-LKG Document17 Filed 10/13/17 Page 5 of 14

illegally assessed or collected, provided that the taxpayer first duly files a claim for a refund with
the IRS. LR.C. § 7422(a); United States v. Clintwood Elkhorn Mining Co., 553 U.S. 1, 4 (2008);
Dumont, 85 Fed. Cl. at 427-28.

Although tax refund claims must originally be presented to the IRS, a tax refund suit is a
de novo proceeding in which the taxpayer bears the burden of proving his or her case by a
preponderance of the evidence. See Gingerich v. United States, 77 Fed. Cl. 231, 240 (2007)
(citations omitted); Ebert v. United States, 66 Fed. Cl. 287, 291 (2005); (citing Cook v, United
States, 46 Fed. Cl. 110, 116 (2000)) (citations omitted). And so, to prevail in a tax refund case,
the plaintiff must carry the burden of proof and provide evidence of an entitlement to a tax
refund. Welch v. Helvering, 290 U.S. 111, 115 (1933); Wells Fargo & Co. v. United States, 91
Fed. Cl. 35, 75 (2010); see Stobie Creek Invs. v. United States, 82 Fed, Cl. 636, 663-64 (2008).
“<The plaintiff bears the burden of proof’ with respect to each and every element of its claim.”

Int'l Paper Co. v. United States, 36 Fed. Cl. 313, 322 (1996).
B, RCFC 56

Pursuant to RCFC 56, a party is entitled to summary judgment when there is “no genuine
dispute as to any material fact and the movant is entitled to judgment as a matter of law.” RCFC
56(a);, see Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986); Biery v. United States,
753 F.3d 1279, 1286 (Fed. Cir. 2014). A dispute is “genuine” when “the evidence is such that a
reasonable [trier of fact] could return a verdict for the nonmoving party.” Anderson, 477 U.S. at

248 A fact is “material” if it could “affect the outcome of the suit under the governing law.” Td.

The moving party bears the burden of demonstrating the absence of any genuine issues of
material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). And so, ““the inferences to be
drawn from the underlying facts... must be viewed in the light most favorable to the party
opposing the motion.” Matsushita Elec. Indus. Co., Ltd. v, Zenith Radio Corp., 475 U.S. 574,
587-88 (1986) (quoting United States v. Diebold, Inc., 369 U.S. 654, 655 (1962)).

 

2 This Court shares jurisdiction for tax matters with the United States Tax Court and with the regional
federal courts. LR.C. §§ 7441, 7482; 28 U.S.C. §§ 1346(a); 1491{a). “While decisions of the Tax Court
(and other circuits] are not binding, the Court of Federal Claims ‘will follow these decisions if the
underlying rationale is persuasive.’” Buser v. United States, 85 Fed. Cl. 248, 264 n.16 (quoting Southland
Royalty Co. v. United States, 22 Cl, Ct. 525, 530 n.15 (1991).
Case 1:15-cv-01381-LKG Document 17 Filed 10/13/17 Page 6 of 14

In making a summary judgment determination, the Court does not weigh the evidence
presented, but instead must “determine whether there is a genuine issue for trial.” Anderson, 477
U.S. at 249; see also Am. Ins. Co. v. United States, 62 Fed. Ch. 151, 154 (2004); Agosto v. INS,
436 U.S. 748, 756 (1978) (“{A trial] court generally cannot grant summary judgment based on its
assessment of the credibility of the evidence presented... .”). The Court may grant summary
judgment when “the record taken as a whole could not lead a rational trier of fact to find for the

nonmoving party ....” Matsushita Elec. Indus, Co., Ltd., 475 U.S. at 587.

The above standard applies when the Court considers cross-motions for summary
judgment. Principal Life Ins. Co, & Subsidiaries v. United States, 116 Fed. Cl. 82, 89 (2014);
see also Estate of Hevia v. Portrio Corp., 602 F.3d 34, 40 (Ist Cir, 2010). And so, when both
parties move for summary judgment, ““the court must evaluate each party’s motion on its own
merits, taking care in each instance to draw all reasonable inferences against the party whose
motion is under consideration.”” Abbey v. United States, 99 Fed. Cl. 430, 436 (2011) (quoting
Mingus Constructors, Inc. v. United States, 812 F.2d 1387, 1391 (Fed. Cir. 1987)).

C. LR.C. § 162(a)

The Internal Revenue Code does not deal specifically with the deductibility of
educational expenses. See generally LR.C. §§ 161-199. But, Section 162(a) of the LR.C,
provides generally that “[t]here shall be allowed as a deduction all the ordinary and necessary
expenses paid or incurred during the taxable year in carrying on any trade or business[.]” LR.C.
§ 162(a). In contrast, Section 262 of the LR.C. prohibits deductions for “personal” expenses.
LR.C, § 262.

Because the LR.C. does not contain specific provisions regarding the deductibility of
educational expenses, the tax “regulations synthesizing sections 162(a) and 262 in relation to
educational expenses take on added significance.” Bodley v. Comm 'r, 56 T.C. 1357, 1359
(1971); see also Burke W. Bradley, Jr., 54 T.C. 216 (1970). The relevant regulations provide
that educational expenses are deductible if the education maintains or improves skills required by
the individual in his employment, or other trade or business, or meets the express requirements
of his employer. Treas. Reg. § 1.162-5(a). Specifically, the regulations provide that a taxpayer

may deduct educational expenses as an ordinary and necessary business expense if the education:

 
Case 1:15-cv-01381-LKG Document 17 Filed 10/13/17 Page 7 of 14

(1) Maintains or improves skills required by the individual in his employment or
other trade or business, or

(2) Meets the express requirements of the individual's employer, or the
requirements of applicable law or regulations, imposed as a condition to the
retention by the individual of an established employment relationship, status, or
rate of compensation.

Treas. Reg. § 1.162-5(a)(1)-(2).

The regulations also carve out an exception to this allowance when the education
qualifies the taxpayer for a new trade or business and provides, in relevant part, that:
(b) Nondeductible educational expenditures — (1) In general. Educational
expenditures described in subparagraphs (2) and (3) of this paragraph are personal
expenditures or constitute an inseparable aggregate of personal and capital
expenditures and, therefore, are not deductible as ordinary and necessary business
expenses even though the education may maintain or improve skills required by
the individual in his employment or other trade or business or may meet the

express requirements of the individual's employer or of applicable law or
regulations.

(3) Qualification for new trade or business. (i) The second category of
nondeductible educational expenses within the scope of subparagraph (1)
of this paragraph are expenditures made by an individual for education
which is part of a program of study being pursued by him which will lead
to qualifying him in a new trade or business. . . .

Treas. Reg. § 1.162-5(b)(1), (3). And so, a taxpayer may not take a deduction for expenditures
made by an individual for education which is part of a program of study being pursued by the
taxpayer which will lead to qualifying him in a new trade or business. Treas, Reg. § 1.162-
5(b)(3)(i). This is the case even though a taxpayer’s studies may be required by the taxpayer’s
employer and the taxpayer does not intend to enter a new field of endeavor. Bodley, 56 T.C. at
1360,

in this regard, courts have recognized that the question of whether certain education
qualifies a taxpayer for a new trade or business to be an objective inquiry. See, e.g., Vetrick v.
Comm’r, 628 F.2d 885, 886 (5th Cir, 1980). And so, courts have analyzed the tasks and
activities that the taxpayer was able to perform before the education, in comparison to the tasks

and activities that the taxpayer was qualified to perform afterward, to determine whether an
Case 1:15-cv-01381-LKG Document 17 Filed 10/13/17 Page 8 of 14

educational course qualifies the taxpayer for a new trade or business. Jd. The taxpayer’s
subjective intent in undertaking the education, and whether the taxpayer actually becomes
employed in a new trade or business, are not relevant to such an inquiry. /d.; Burnstein v.

Comm’r, 66 T.C. 492, 495 (1976); Bodley, 56 T.C. at 1360.
D. Pro Se Litigants

Lastly, in reviewing matters brought by pro se litigants, the Court applies the pleading
requirements leniently. Beriont v. GTE Labs., Inc., 535 F. App’x 919, 925-26 n.2 (Fed. Cir.
2013) (citing McZeal y. Sprint Nextel Corp., 501 F.3d 1354, 1356 (Fed. Cir. 2007)). When
determining whether a complaint filed by a pro se plaintiff is sufficient to survive a motion to
dismiss, the Court affords more leeway under the rules to pro se plaintiffs than to plaintiffs who
are represented by counsel, See Haines v. Kerner, 404 U.S. 519, 520 (1972) (holding that pro se
complaints, “however inartfully pleaded,” are held to “less stringent standards than formal
pleadings drafted by lawyers.”); Matthews v. United States, 750 F.3d 1320, 1322 (Fed. Cir.
2014). But, there “is no duty on the part of the trial court to create a claim which [the plaintiff]
has not spelled out in his pleading.” Lengen v. United States, 100 Fed. Cl. 317, 328 (2011)
(brackets existing; citations omitted). And so, while “a pro se plaintiff is held to a less stringent
standard than that of a plaintiff represented by an attorney, . . . the pro se plaintiff, nevertheless,
bears the burden of establishing the Court’s jurisdiction by a preponderance of the evidence.”
Riles v. United States, 93 Fed. Cl. 163, 165 (2010) (citing Taylor v, United States, 303 F.3d
1357, 1359 (Fed. Cir. 2002)), Given this, the Court may excuse ambiguities, but not defects, in
the complaint. See Colbert v. United States, 617 F. App’x 981, 983 (Fed. Cir, 2015).

IV. LEGAL ANALYSIS

The parties have filed cross-motions for summary judgment on the issue of whether
plaintiff is entitled to deduct the educational expenses that he incurred during the 2010 tax year
as an ordinary and necessary business expense under Section 162 and Treasury Regulations §
1.162-5. See Pl. Mot.; Def. Mot. In its motion for summary judgment, the government argues
that plaintiff's doctoral studies will lead to qualifying him for a new trade or business—namely,
employment as a university professor or a licensed structural engineer—and that plaintiff cannot
deduct these expenses as an ordinary and necessary business expense. Def. Mot. at 11-15. In his

cross-motion for summary judgment, plaintiff counters that his doctoral studies maintained and

 
Case 1:15-cv-01381-LKG Document 17 Filed 10/13/17 Page 9 of 14

improved the skills required of him by his employer and that he is entitled to deduct these

expenses as an ordinary and necessary business expense. Pl. Mot. at 2-3.

For the reasons discussed below, the undisputed material facts in this case demonstrate
that plaintiff has not shown that his doctoral studies during tax year 2010 maintained or
improved the skills required of him by the Navy. The undisputed material facts also show that
plaintiff's educational expenses have been incurred for a program of study that will lead to
plaintiff qualifying for a new trade or business. And so, the Court GRANTS the government’s
motion for summary judgment and DENIES plaintiff's cross-motion for summary judgment.

A. Plaintiff Fails To Show That His Studies
Maintained And Improved Required Skills

As an initial matter, the undisputed material facts in this matter show that plaintiff has not
met his burden to prove that there is a direct and proximate relationship between his doctoral
studies during 2010 and the skills required of him at the time as an engineer for the Navy. And
so, the Court must deny plaintiff's motion for summary judgment. RCFC 56; see e.g., Free-
Pacheco v. United States, 117 Fed. Cl. 228, 292 (2014) (“As a threshold matter, plaintiff has the

burden of proving that a section of the Internal Revenue Code applies to him... .”’).

Under the regulations that implement Section 162, educational expenses are deductible if
the taxpayer can show that the education maintains or improves the skills required by the
taxpayer in his employment, or other trade or business, or meets the express requirements of the
taxpayer’s employer. Treas. Reg. § 1.162-5(a). But, these regulations also provide that this
deduction is not permissible when the expenditures are for education which is part of a program
of study being pursued by a taxpayer which will lead to qualifying the taxpayer in a new trade or

business. Treas. Reg. § 1.162-5(b)(3)(i).

The United States Tax Court has recognized that this exception applies even though a
taxpayer’s studies may be required by the taxpayer’s employer and the taxpayer does not intend
to enter a new field of endeavor. Bodley, 56 T.C. at 1360. The United States Tax Court has also
recognized that the question of whether education has been undertaken for the purpose of
maintaining or improving the skills required by a taxpayer’s employer is a question of fact.
Baker v. Comm’r, 51 T.C. 243, 247 (1968) (holding whether expenditures are for education

undertaken primarily for the purpose of “maintaining or improving skills” required by the

 
Case 1:15-cv-01381-LKG Document 17 Filed 10/13/17 Page 10 of 14

taxpayer in his employment must be determined from all the facts and circumstances involved.).
And so, the Court first considers whether the undisputed material facts in this case show that
plaintiff's 2010 doctoral studies maintained or improved his skills in connection with his

employment as a Navy engineer.

The undisputed material facts in this case show that plaintiff has not met his burden to
show that his doctoral studies maintained or improved his professional skills. First, in his cross-
motion for summary judgment, plaintiff argues that his 2010 doctoral studies maintained or
improved his skills, because these studies satisfied the continuing education requirements for
registered professional engineers. Pl. Mot. at 3. But, the undisputed material facts show that
plaintiff had no obligation to undertake any continuing education to maintain his professional

license as an engineer in 2010.

In this regard, it is undisputed that plaintiff received his professional license as an
engineer in 2008, and that he was employed as an engineer with the Navy Surface Wartare
Center in 2010. Def. Mot. at 3-4; Def. Ex. 1 at 10-11, 14, 18-22; Pl. Mot. at 3. But, as the
government argues~and plaintiff appears to concede—plaintiff did not need to pursue any
continuing education to maintain his professional license in 2010. Def. Resp. at 4-5, 0.7; PI.
Reply at 3. Rather, it is undisputed that plaintiff had no obligation to pursue continuing
education to maintain his professional license until after he had held this license for three years.
Def, Resp. at 4-5 n.7; Pl. Reply at 3. And so, the undisputed material facts demonstrate that
plaintiff did not need to undertake any continuing education to maintain his professional license
unti] 201 1-one year after he completed the doctoral studies at issue in this case. Def. Resp. at 4,

n.7; Compl. at L.

The undisputed material facts in this case also do not substantiate plaintiffs argument
that his doctoral studies maintained and improved his skills for the practice of the profession of
engineering because, he “used the knowledge” gained through those studies in his career and
“l¢jhe underlying principles of [his studies] are the same as those that apply to work [that he] was
conducting for the U.S. Navy.” Pl. Reply at 1, n.1; Pl. Mot. at 2-3. While plaintiff baldly asserts
that his doctoral studies were connected to his employment with the Navy, he points to no facts
to demonstrate how these studies maintained or improved the skills required of him by the Navy.

Compl. at 2; PI. Mot. at 2; Pl. Reply at 1, n.1.

10
Case 1:15-cv-01381-LKG Document 17 Filed 10/13/17 Page 11 of 14

The Court is, of course, cognizant of plaintiff's pro se status. But, the mere assertion of a
connection between plaintiffs doctoral studies and the improvement of his skills is simply
insufficient to establish an entitlement to a deduction under Section 162. See, e.g., Pendergraft
y. United States, 94 Fed. Cl. 79, 84-85 (2010) (holding that, where the taxpayer did not maintain
the required documentation to verify eligibility for a specific deduction, the taxpayer had not
satisfied his burden of proof). And so, the Court must DENY plaintiff's cross-motion for
summary judgment. RCFC 56.

B. Plaintiff’s Studies Will Lead To

Qualifying Him For A New Trade Or Business

Even if plaintiff could establish that his doctoral studies maintained or improved the
professional skills required of him by the Navy, the undisputed material facts in this case also
show that plaintiff is not eligible to deduct these expenses as an ordinary and necessary business
expense, because plaintiff's doctoral studies will lead to qualifying him for a new trade or
business. And so, for the reasons discussed below, the Court GRANTS the government’s

motion for summary judgment.

As discussed above, Treasury Regulation § 1.162-5(b) provides that the deduction for an
ordinary and necessary business expense is not available when the expenses to be deducted are
for education which is part of a program of study being pursued by the taxpayer which will lead
to qualifying the taxpayer in a new trade or business. Treas. Reg. § 1.162-5(b)(3)(i). And so, if
the undisputed material facts in this case show that the educational expenses that plaintiff seeks
to deduct are for education which is part of a program of study which will lead to qualifying

plaintiff in a new trade or business, he may not deduct these expenses. Id.

The Court’s consideration of whether plaintiffs doctoral studies will qualify him for a
new trade or business is an objective inquiry. See, e.g., Vetrick, 628 F.2d at 886. And so, the
Court compares the tasks and activities that plaintiff was able to perform before completing the
education at issue with the tasks and activities that plaintiff was qualified to perform after
completing these studies. Id.; see also Burnstein v. Comm'r, 66 T.C. 492, 495 (1976); Bodley,
56 T.C, at 1360.

In its motion for summary judgment, the government persuasively argues that plaintiff's

doctoral studies will lead to qualifying him as a university professor. Def. Mot. at 11-13.

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Case 1:15-cv-01381-LKG Document 17 Filed 10/13/17 Page 12 of 14

Specifically, the government argues that plaintiff's doctoral studies would satisfy a significant
requirement for a new career as a university professor, because many universities require that
professors in their employ hold a Ph.D. degree. Def. Mot. at 11-12. To support this argument,
the government points to occupational information from the United States Department of Labor
which indicates that, commonly, postsecondary teachers must hold a Ph.D. degree. Id, at 11-12
(citing Postsecondary Teachers, U.S. DEP’T OF LABOR, OCCUPATIONAL OUTLOOK HANDBOOK 2016-
17 EDITION (Dec. 17, 2015). In addition, the government points to a statement by MIT which
indicates that the university’s Ph.D. program is a gateway for enrolled students to secure
teaching positions with top universities. /d. at 12 (citing Graduate Degrees, MIT CIVIL AND
ENVIRONMENTAL ENGINEERING, http://cee.mit.edu/graduate/graduate-degree/ (last visited October 4,
2016); Massachusetts Institute of Technology Faculty Positions in the Department of Civil and
Environmental Engineering, MIT SCHOOL OF ENGINEERING, https://school-of-engineering-faculty-

search. mit.edu/cee-search/ (last visited October 4, 2016)).

Plaintiff correctly counters in his cross-motion for summary judgment that holding a
Ph.D. degree does not necessarily indicate that an individual intends to become a university
professor. P!. Mot. at 6. Plaintiff is also correct in observing that holding a Ph.D. degree alone

is insufficient to qualify for employment as a university professor. Id.

But, the question presented here is whether plaintiff's doctoral studies are the kind of
studies which will lead to qualifying him to become a university professor—not whether plaintiff
actually intends to begin a new career in academia. See Meeks v. Commr, 2000 U.S. App.
LEXIS 2819, at *2 (9th Cir. Feb. 22, 2000); see also Jungreis v. Comm’r, 55 T.C, 581, 590-91
(1971) (recognizing that a Ph.D, is a necessary qualification for a person seeking to pursue a
career as a professor), There is no dispute in this case that holding a Ph.D. degree is an
important qualification for becoming a university professor. Def. Mot. at 11-12; Pl. Mot at 5.
And so, there can be no genuine dispute that plaintiff would have objectively fulfilled a
significant requirement for becoming a university professor, if he had completed his doctoral
studies. See Bodley, 56 T.C. at 1361 (“Even if an individual taking a course which both qualifies
him for a new profession and improves his skills and earning power in his current field of
endeavor does not intend to enter the new profession, his purpose and intention may change. He

may later decide to enter the new profession.”).

12

 
Case 1:15-cv-01381-LKG Document 17 Filed 10/13/17 Page 13 of 14

In addition, the fact that plaintiff would also need to meet other requirements to pursue a
career in academia is also not germane to the Court’s inquiry regarding whether plaintiff's
studies will lead to qualifying him for a new trade or business. The fact that plaintiffs doctoral
studies could lead to qualifying him for a job in a new field is sufficient to find that plaintiff is
not entitled to a tax deduction under Section 162. See Meeks, 2000 U.S. App. LEXIS 2819, at *2
(“The fact that the education could lead (if the entire program of study was completed) to
qualifying him for a job [in a new field] is enough.” (emphasis original)); Sharon v. Comm ’r,

59] F.2d 1273, 1275 (9th Cir. 1978) (per curiam).

Again, the undisputed material! facts in this case make clear that a Ph.D, degree is an
important qualification for becoming a university professor. Because plaintiff's doctoral studies
could have objectively qualified him to become as a university professor, he may not seek a

deduction for these expenses and an ordinary and necessary business expense under Section 162.

As a final matter, the government also argues with less persuasion that plaintiffs doctoral
studies will lead to qualifying plaintiff for a new trade or business as a licensed structural
engineer. Def. Mot. at 13-15. To support this argument, the government maintains that
plaintiffs studies would have prepared him to take a structural engineering exam. Def. Mot. at

15; Def. Resp, at 3 n.4,

While it is without dispute that plaintiff was not a structural engineer in 2010, the
undisputed material facts in this case indicate that plaintiff already had the necessary education
and work experience to take the structural engineering examination before he undertook the
doctoral studies at issue. Pl. Mot. at 5; Def. Ex. 1 at 35. The parties do not dispute that plaintiff
performed structural engineering work for the Naval Sea Systems Command in 2007. Def. Mot.
at 3; Def. Ex. 1 at 14. It is also undisputed that plaintiff became a licensed professional engineer
in the State of New York in 2008. Def. Mot. at 4-5; Def Ex. 1 at 18. Nor is it disputed that, in
2009, plaintiff began work as an engineer at the Navy Surface Warfare Center, where he focused
on how batteries in submarines withstood shocks and vibrational disturbances. Def. Mot. at 3-5;
Def. Ex. 1 at 10-11, 14, 45-46. And so, the government’s argument that plaintiffs doctoral

studies will lead to qualifying him as a structural engineer finds less support in the factual record.

Nonetheless, because the factual record does demonstrate that plaintiff's doctoral studies

in 2010 will lead to qualifying him as a university professor, the undisputed material facts in this

13

 
Case 1:15-cv-01381-LKG Document 17 Filed 10/13/17 Page 14 of 14

matter show that plaintiff may not deduct the expenses for this education under Section 162.
And so, for this reason, the Court must GRANT the government’s motion for summary

judgment, RCFC 56.
V. CONCLUSION

In sum, the undisputed material facts in this matter show that plaintiff has not shown that
his doctoral studies in 2010 maintained or improved the professional skills required of him by
the Navy. And so, plaintiff has not met his burden to establish that he is eligible to deduct the
expenses associate with these studies as an ordinary and necessary business expense under
Section 162. LR.C. § 162; Treas. Reg. § 1.162-5(a).

The undisputed material facts also show that plaintiffs doctoral studies will lead to his
qualification in a new trade or business as a university professor, making these expenses

ineligible for deduction as an ordinary and necessary business expense under Section 162.

And so, for the foregoing reasons, the Court:

1. GRANTS the government’s motion for summary judgment;

2. DENIES plaintiff's cross-motion for summary judgment; and

3. DISMISSES the complaint.

The Clerk’s Office is directed to ENTER final judgment in favor of the government,
DISMISSING the complaint.

Each party shall bear its own costs.

IT IS SO ORDERED,

 

14
